      Case 2:19-cv-11149-LMA-DMD Document 63 Filed 01/27/20 Page 1 of 2


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                                      27th January 2020
Via facsimile (504) 589-7710

Honorable Dana Douglas
Magistrate Div #3
500 Poydras Street, Rm. B335
New Orleans, La. 70130

       Re:       REC Marine vs. DeQuincy R. Richard
                 CA #19-11149 USDC EDLa.
                 MyFile FS-19-653


Dear Magistrate Douglas:

       Defendants in the captioned and entitled litigation provide their position for the
settlement conference which has been scheduled for 30th January 2020 at 2:00PM.

       Defendants number three in the captioned and entitled civil action. Defendant, Gulf
Offshore Logistics, LLC., has absolutely nothing to do with Richard or with any activities for
which he has filed suit, and unless dismissed, will litigate this matter to conclusion.

         Defendant, Offshore Transport Service, LLC., is, and was, the naked owner of the MV
Dustin Danos, when Richard alleges he sustained an injury on 6th November 2018, while trying
out as a deckhand on the vessel, working only about six hours for his employer, before he staged
an accident and alleged a pre-existing injury as his complaint. The vessel was chartered to W&T
Offshore, a Texas company, who was in control of the operation, management, and navigation of
the vessel, M/V Dustin Danos. Offshore Transport was not operating, navigating or manning
the vessel, all of which had been contracted to W&T, and thus Offshore Transport, had no
liability for fault or negligence or lack of seaworthiness for Richard’s alleged accident and injury,
which this defendant believes was staged or faked, as Richard complained of what could only
have been a pre-existing injury or condition, which he had hidden from medical examination,
prior to going to work for REC.

        As stated, REC was the contract operator of the vessel and the employer of Richard for
six hours, when he alleges his injury. Their witnesses will testify that Richard staged this
accident and alleged an injury that did not occur on the vessel on 6 th November. He used an old
injury or condition to make his claim. Richard apparently had sustained an old injury which he
      Case 2:19-cv-11149-LMA-DMD Document 63 Filed 01/27/20 Page 2 of 2




tried to hide from REC. The facts, and REC, deny they are at fault or liable in any fashion for
this incident.

        In order to avoid trial expenses for an expensive jury trial, Counsel will recommend that
REC offer $25,000 as a compromise on the case, while reserving all the rights of Gulf Offshore
Logistics to recover the huge fees and costs it has incurred for dealing with an improperly filed
suit by Mr. Rhine in Texas federal court.

       With kindest regards, I am

                                                    Sincerely



                                                    Fred E. Salley

FES/fng/STF

Cc     Josh Koch facsimile 504-208-9041
